Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 1 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 2 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 3 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 4 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 5 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 6 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 7 of 12

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Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 8 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 9 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 10 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 11 of 12
Case 3:16-cv-00193-TCB Document 1-10 Filed 12/09/16 Page 12 of 12
